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IN THE UNITED STATES DISTRICT COURT pr Ominyrp
FOR THE MIDDLE DISTRICT OF ALABAMA !°" "© °

 

ALABAMA DISABILITIES ADVOCACY ) HAY Ib PF Su
PROGRAM, )
) rors ro
Plaintiff, ) COMPLAINT ee,
} oN eee wt be EEA RL ee
v. ) Civil Action No. RO] -Cy- 43U-MEP
)
J. WALTER WOOD, JR. in his official )
Capacity as Executive Director of the )
Alabama Department of Youth Services, )
)
Defendant. )

 

COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
PRELIMINARY STATEMENT

1. The Alabama Disabilities Advocacy Program (“ADAP”) is a nonprofit organization
authorized by Congress to -protect and advocate for the civil rights of persons with disabilities
in Alabama. This complaint is related to a similar complaint filed in this Court less than two
years ago (Case 2:05-cv-01030-MHT), in which ADAP sought injunctive and declaratory
relief against the Alabama Department of Youth Services (“DYS”) for refusing to. provide
full access to ADAP’s client, J.P., her records, DYS staff and other residents for the purposes
of investigating allegations that J.P. was physically abused, mechanically restrained, and
denied psychiatric medication by DYS staff. Subsequently, the parties were ordered to
mediation, ADAP. obtained access, and the case was voluntarily dismissed on May 2, 2006.
See Exhibits Al-A3,

2. Since the dismissal of the 2005 complaint, DYS has engaged in a pattern and practice of
refusing to provide ADAP with access to DYS residents, facilities, facility staff, and records,
preventing ADAP from fully exercising the monitoring and investigatory mandates

authorized to it under federal law.
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3. ADAP brings this action against J. Walter Wood, Ir., in his official capacity as Executive
Director of DYS, pursuant to the Protection and Advocacy for Individuals with Mental
Illness Act of 1986 (“PAIMI Act”), 42 U.S.C, §§ 10801 et seq., and its implementing
regulations at 42 C.F.R. §§ 51.1 et seq.; the Developmental Disabilities Assistance and Bill
of Rights Act of 2000 (“PADD Act”), 42. U.S.C. §§ 15001 et_seq., and its implementing
regulations at 45 C.F.R. §§ 1385 et seq.; the Protection and Advocacy of Individual Rights
Program (“PAIR Act”), 29 U.S.C., §§ 794e, et seq., and its implementing regulations at 34
CER. $§ 381.1 etseg,; and 42 U.S.C. § 1983.

4. ADAP seeks a permanent injunction preventing J. Walter Wood, Jr. and all agents of Mr.
Wood from denying ADAP, as. authorized by its federal enabling statutes and regulations,
full, complete, timely access to DYS residents, facilities and facility staff as well as full,
complete, timely access to records. In particular, Defendant has denied ADAP its federal
statutory right under the PAIMI, PADD and PAIR Acts to:

4. reasonable unaccompanied access, for monitoring and investigatory purposes, to public
and private areas of DYS facilities, in violation of 42 C.F.R. § 51.42(b); 42 C.F R$
51,42 (c); 45 CPLR. § 1386.22(f); and 45 CFR. § 1386,22(g);

b. interview residents, staff and other persons as part of an abuse and neglect investigation
when ADAP had probable cause to believe an incident had occurred, in violation of 42
C.F.R. § 51.42(b);

c. provide information and training on individual rights and services provided by the P&A
system, in violation of 42 C.F.R. § 51.42 (c) and 45 C-F.R. § 1386.22(g);

d. communicate privately with facility residents, in violation of 42 C.F.R. § 51.42 (d) and

45 CFR. § 1386.22(h);

 
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e, access to facility incident reports and investigatory findings, in violation of 42 C.F.R. §
51.41(c)(2); and

f. access to records of facility residents, in violation of 42 C.F.R. § 51.41 and 45 CER. §
1386.22.

JURISDICTION

9. Jurisdiction in this court is.proper pursuatit'to 28 U.S.C, § 1331.

6. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b). Defendant resides in

Montgomery County, Alabama. Ala. Code 1975 § 44-1-20 (“The principal offices. of the
department [of youth services] shall be located at the state capital,”)
PARTIES

. Plaintiff ADAP is a nonprofit organization in the state of Alabama authorized by
Congressional mandate to protect and advocate for the civil rights of persons with disabilities
in Alabama. Plaintiff spends. significant time and resources conducting federally authorized
monitoring activities at DYS facilities like Chalkville, Vacca, and Mt. Meigs, and advocating
for the rights of individuals residing in those facilities, ADAP is charged with the duty of
investigating complaints of abuse and neglect of residents of facilities like Chalkville, Vacca,
and Mt. Meigs under Congressional mandate pursuant to the PAIMI, PADD and.PAIR Acts.
ADAP files this complaint in its own nate to redress injuries to itself and on behalf of its
clients:

. Defendant J. Walter Wood, Jr., is the Executive Director of DYS. D'S is the agency in the
state of Alabama established to “promote and safeguard the social well-being and general

welfare of the youth of the state through a comprehensive and coordinated program of public

 
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services for the prevention of juvenile delinquency and the rehabilitation of delinquent
youth.” Ala. Code 1975 § 44-1-1.

STATEMENT OF FACTS

ADAP’s Access authority
In 1975, the PADD Act established the Protections and Advocacy (“P&A”) System to
investigate incidents of abuse and neglect and to pursue legal, administrative and other
appropriate remedies to safeguard the rights of individuals with developmental disabilities.
Congress extended the protection and advocacy mandate to cover individuals with mental
illness with the enactment of the PAIMI Act in 1986. The scope of the P&A system was
further expanded in 1993 when the PAIR Act was enacted.
To receive federal funding under the PAIMI, PADD and PAIR Acts, states must have in
effect a P&A system. ADAP is designated as Alabaina’s P&A system. The PADD, PAIMI
and PAIR Acts, along with their implementing regulations, authorize ADAP to investigate
incidents of abuse and neglect and to pursue legal, administrative, and other appropriate
remedies to ensure that the rights of persons with physical, mental and cognitive disabilities
are protected - whether those persons live in facilities or in the community. 42 U.S.C. §

15043; 42 U.S.C. § 10805; 29 U.S.C. § 794e (a) and (f. See-also, Alabama Disabilities

 

Advocacy Program v. J.S. Tarwater Developmental Ctr, 97 F.3d 492 (11th Cir. 1996).
Under the PAIMI Act, “any public or private residential setting that provides overnight care
accompanied by treatment services” is a facility which a P&A is authorized to access and
monitor.

Facilities include, but are not limited to the following: General and

psychiatric hospitals, nursing homes, board and care homes, Community
housing, juvenile detention facilities, homeless shelters, and jails and
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prisons, including all general areas as well as special mental health or
forensic units.

42 C.F.R.§ 51.2,

12. Under the PADD Act, facilities include “any setting that provides care, treatment, services
and habilitation. ... Facilities include, but are not limited to the following: Community living
arrangements ..., day programs, juvenile detention centers, hospitals, nursing homes,
homeless shelters, jails and’prisons.” 45 C.F.R. § 1386.19. -

13, Under the PAIMI Act, “care” and “treatment” are defined.as services:

provided to prevent, identify, reduce or stabilize mental illness or
emotional impairment such as mental health screening, evaluations,
counseling, biomedical, behavioral and psychotherapies, supportive-or
other adjunctive therapies, medication supervision, special education and
rehabilitation, even if only, “as. needed” or under a contractual
atrangement,

42. C.F.R.:§ 51.2.

14. DYS facilities like Chalkville, Vaeca, and Mt. Meigs constitute facilities as described under
both the PAIMI and PADD Acts.

15. The PAIMI and-PADD Acts empower ADAP to investigate incidents of abuse and neglect of
individuals if the incidents are reported to the system or if there is probable cause to believe
that the incidents occurred, 42 U.S.C. § 10805; 42 C-FLR, § 51.41; 42 C.F.R. § 51.42; 42
U.S.C. § 15043; 45 CLE.R. § 1386.22(a)(3),

16. To carry out ADAP’s investigatory mandates, the PAIMI and PADD Acts authorize ADAP
prompt access to all records of any individual who isa client of the system if the individual,
or his legal guardian, conservator, or other legal representative, has authorized the system to

have such access. 42 U.S.C. § 10805; 45 C.F.R. § 1386.22(a)(1); 42 U.S.C. § 15043; 42

CER. § $1.41(b)(1).
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17, The PAIMI and PADD Acts provide ADAP with prompt access to records of individuals
who are in the custody of the state and with réspect to whom a complaint has been recéived
by the system or with respect to whom there is probable cause to believe such individual has
been subjected to abuse or neglect. 42 U.S.C. § 10805; 42 C-F.R. § 51.41 (b)(Q2)(ii); 42 ULS.C.
§ 15043; 45 CFR. § 1386.22(a)(2)(ii).

18. The PAIMI and PADD Acts provide ADAP. with reasonable, unaccompanied access to
facilities including all areas which are used by or are accessible to residents, and to:programs
and their residents at all times, for the purposes. of conducting a full investigation. of an
incident of abuse or neglect. 42 U.S.C. § 10805; 42 CLE.R. § 51.42(b); 42 U.S.C. § 15043;
45 C.FLR. § 1386.22(f).

19..The PAIMI and PADD Acts provide ADAP reasonable unaccompanied access to all
residents of a facility at reasonable times to provide P&A service and contact information,
rights information, monitor compliance with respect to the rights arid safety of service
recipients, and to view and photograph all areas of the facility which are used by residents or
are accessible to residents. 42 U.S.C. § 10805; 42 C.F.R. § 51.42 (c); 42 U.S.C. § 15043; 45
C.F.R. § 1386.22(g).

20. The PAIMI and PADD Acts provide ADAP unaccompanied access to residents of facilities,
including the opportunity to meet and communicate privately with such individuals regularly,
both formally and informally, by telephone, mail and in person, 42 C.F.R. § 51.42 (d); 42
C.F.R. § 1386.22(h).

21. The PAIMI regulations require DYS to provide ADAP:

(2) Reports prepared by an agency charged with investigating abuse, neglect, or
injury occurring at facility rendering care or treatment, or, or by or for the facility

itself, that describe any or all of the following: () Abuse, neglect, or injury
occurring at the facility; (ii) The steps taken to investigate the incidents; (iii)

 
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Reports and records, including-personnel records, prepared or maintained by: the
facility, in connection with such reports of incidents; or (iv) Supporting
information that was relied upon in creating a report, including all information
and records used or reviewed in preparing reports of abuse, neglect or injury such
as records which describe persons who were interviewed, physical and
documentary evidence that was reviewed, and the related investigative findings.”

42 CF.R. § 51.41 (c)(2).

22. The access provisions of the three statutes are interrelated and it is clear that Congress

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intended that they be applied in a consistent inanner. The PAIR Act expressly incorporates
by reference (at 42 U.S.C. § 794e () the authority regarding access to facilities and records
(as well as the other general authorities granted to P&As) set forth in the PADD Act.
Moreover, the preamble to the PAIMI Act regulations states that it is the goal of the
Department of Health. and Human Services “to ensure that all facets of the P&A system
administered by the Department [i.e., the PAIMI and PADD Acts] are subject to the same
requirements.” 62 Fed. Reg. 53549 (Oct. 15, 1997).

The PAIMI Act’s implementing regulations states that ADAP has the right to access all
residents of a facility where those with mental illness and emotional disorders reside “despite
the existence of any State or local laws or regulations which restrict. informal access to

minors and adults with legal guardians or conservators,” 42 C.F.R. § 51.42(e).

24, In addition to lengthy citations of PADD and PAIMI access authority found in ADAP’s 2005

complaint and related correspondence, ADAP has provided DYS counsel with numerous
pieces of written correspondence explaining ADAP’s monitoring and access authority. See

Exhibits B1-B6,
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Defendant repeatedly has denied ADAP’s lawful access to
DYS residents, facilities, records, and staff.

Chaikville

25. On February 20, 2007, ADAP Staff Attorney Nancy Anderson provided DYS. counsel,
Dudley Perry, with written notice that ADAP wished to monitor the DYS Chalkville Campus
on March 1st, Anderson reminded DYS Counsel on February 20 and again on February
28th that ADAP possesses federal authority to conduct unaccompanied monitoring activities
of DYS facilities “for the purposes of: 1) providing information and training on programs
addressing the needs of individuals with mental illness, individual rights, and the protection
and advocacy services available from. ADAP; 2) monitoring compliance with respect to the.
tights and safety of residents; and 3) viewing and photographing all areas of the facility
which are used by residents or are accessible to residents.” 42 U.S.C. § 10805; 42 C.F.R. §
§1.42(c). See Exhibit C.

26. Due to statewide tornado advisories on March 1", ADAP agreed with DYS to reschedule its
Chalkville monitoring visit to March. 6, 2007.

27. On March 6, 2007, ADAP Staff Attorney Andrea Mixson and Senior Case Advocate Christy
Johnson arrived at the Chalkville campus. As part of ADAP’s monitoring activities
authorized by the PADD and PAIMI Acts, Mixson and Johnson engaged in private
conversations with numerous residents regarding treatment concerns at Chalkville. Mixson
and Johnson also distributed brochures containing ADAP’s contact information and a
description of ADAP’s programs and services. See Exhibits D and E.

28. Among the many residents who communicated privately with Mixson and Johnson. on that

day, three residents, J.C., B.P. and S.B., stated they desired additional confidential
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communications with Mixson and Johnson regarding inappropriate treatment at Chalkville.
After speaking briefly and confidentially with these three residents, Mixson and Johnson
informed the three girls they would return for additional confidential visits as soon as
possible. See Exhibits D-and E,

On March 21, 2007, Mixson provided DYS. counsel written notice that ADAP planned a
second monitoring visit to. Chalkville on March 27th, See Exhibit H. Mixson reminded DYS
counsel that ADAP possesses federal access authority to conduct unaccompanied monitoring
activities of DYS facilities “for the purposes of: 1) providing information and training on
programs addressing the needs of individuals with mental illness, individual tights, and the.
protection and advocacy services available from ADAP; 2) monitoring compliance with
respect to the rights and safety of residents; and 3) viewing and photographing all areas-of the
facility which are used by residents or are accessible to residents.” 42 U.S.C. § 10805; 42
C.F.R. § 51.42(¢). In addition, Mixson stated to DYS counsel that she and Johnson requested
time to speak confidentially with residents J.C. B.P. and S.B., and requested copies of DYS
records for those three residents,

DYS counsel responded to Mixson on March 2lst, stating: “We will communicate with
Chalkville and arrange for your visit next week. I will ask them to coordinate a time for your
monitoring visit and visit with the girls you named.” See Exhibit F.

On March 22, 2007, DYS counsel contacted Mixson and Anderson, requesting that ‘the
March 27th monitoring visit be postponed. See Exhibit D, Mixson emailed DYS counsel
later that day stating that ADAP would agree to postpone its Chalkville monitoring to March
28". See Exhibit G, Mixson followed-up in writing with DYS counsel to the same effect-on

March 22™ and March 26", See Exhibit H.
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32. Mixson and Johnson arrived at Chalkville for their second monitoring visit on. March 28,
2007. They met with Ms. Tate, a DYS employee, about the purpose of the monitoring visit..
Mixson and Johnson informed Ms, Tate they had arranged with DYS counsel to
communicate with residents residing in the Cherokee Unit and to conduct follow-up
interviews with J.C., B.P. and S.B. Mixon and Johnson informed Ms. Tate that ADAP
intended to provide ADAP contact and service information to residents in the Cherokee unit
and to speak privately with Cherokee residents about their treatment at Chalkville. See
Exhibits.D and E.

33. Ms. Tate. informed Mixson and Johnson that Chalkville Director Yolanda Byrdsong had
instructed her to deny ADAP access to speak with any Chalkville residents other than JC.,
B.P. and S.B., and those other residents who have a disability, See Exhibits D and E.

34. Mixson and Johnson explained to Ms. Tate that ADAP has federal access authority to
communicate privately with any resident of Chalkville and that ADAP planned the March
28th monitoring visit to speak with Chalkville residents who did not have an opportunity to
meet and speak privately with them during their previous monitoring on March 6". See
Exhibits D and E.

35, Johnson contacted ADAP Attorney Anderson informing her of Ms. Tate’s refusal to allow
ADAP to speak privately with all. residents of Chalkville. See Exhibit E. Anderson
immediately faxed DYS counsel and Ms. Tate a letter reminding them of ADAP’s access
authority and included a copy of pertinent PAIMI regulations relating to P&A access for their
review. See Exhibit 1.

36. Following Mixson and Johnson’s confidential interviews with J.C., BP. and §.B., Mixson

and Johnson restated to Ms. Tate they intended to exercise ADAP’s federal access authority

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to communicate privately with other Chalkville residents. Ms. Tate informed Mixson and
Johnson that D'S counsel instructed her to deny ADAP’s access to speak privately with any
DYS resident unless that resident had a disability, Ms. Tate informed Mixson and Johnson
that they would only be permitted to make a general announcement about ADAP and to
distribute brochures to residents on the Cherokee Unit. Mixson and Johnson again explained
to Ms. Tate that the PAIMI Act access provisions provide ADAP the authority to
communicate privately with any resident of Chalkville regardless of whether they are a
current client of ADAP or have a disability. See Exhibits D and E.

37. Mixson and Johnson were accompanied by Ms. Tate to the Cherokee Unit, where Mixson
and Johnson distributed brochures and made a general announcement about ADAP’s
services, During Mixson’s announcement, Ms. Tate interrupted and stated to the assembled
residents that they must have a disability before they could receive assistance from ADAP.
Johnson then clarified that any resident could speak privately with ADAP representatives and
that ADAP has the authority to determine whether a resident has a disability. See Exhibits D
and E.

Vacea

38. On March 27, 2007, Johnson sent DYS counsel written notice that Mixson and Johnson
planned to monitor the Vacca campus on Tuesday, April 10th. See Exhibit J. Johnson
reminded DYS counsel that ADAP possesses federal access authority to ‘conduct
unaccompanied monitoring activities of DYS facilities “for the purposes of: 1) providing
information and training on programs addressing the needs of individuals with mental illness,
individual rights, and the protection and advocacy services available from ADAP; 2)

monitoring compliance with respect to the rights and safety of residents; and 3) viewing and

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photographing all areas of the facility which are used by residents or are accessible to
residents.” 42 U.S.C. §10805;42 C.F.R, § 51.42(c).

DYS counsel did not respond to Johnson’s March 27" correspondence or to Attorney
Anderson’s March 30" correspondence to the same effect. See Exhibit J.

Upon arriving at Vacca on April 10" for the scheduled monitoring, Ms. Delbridge informed
Johnson. and Mixson that DYS counsel had instructed her to prohibit ADAP from
comununicating with any resident or distributing any ADAP brochures or business cards to

any resident unless they were currently ADAP’s clients. Ms. Delbridge also informed

Johnson and Mixson that ADAP’s facility accéss was to be limited to an accompanied tour of

the Vacca grounds and buildings that was to be conducted by a security guard. See Exhibits
Dand E.
Mt. Meigs

On March 5 and April 6,.2007, Mixson notified DYS counsel in writing that ADAP planned
to conduct monitoring activities at the Mt. Meigs facility on April 17, 2007. See Exhibit K1-
K2. Consistent with previous correspondence from ADAP on this matter, Mixson reminded
DYS counsel that ADAP possesses federal access authority to conduct utiaecompanied
monitoring activities of DYS facilities “for the purposes of 1) providing information and

training on programs addressing the needs of individuals with mental illness, individual

rights, and the protection and advocacy services available from ADAP: 2) monitoring

compliance with respect to the tights and safety of residents; and 3) viewing and
photographing all areas of the facility which are used by residents or are accessible to

residents.” 42 U.S.C. § 10805; 42 CLF.R. § 51.42(c).

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.Mixson and Johnson arrived at the Mt. Meigs facility on April 17". Mixson and Johnson

informed the security guard that they were ADAP employees and had arranged a monitoring
with DYS counsel. The guard stated that DYS counsel had not notified him of ADAP’s
monitoring and that he could not permit them to conduct monitoring activities at Mt. Meigs.
See Exhibits D and E.
Mixson and Johnson then spoke with Ms. Phyllis Carney, administrative assistant to DYS
counsel, who stated that ADAP was only permitted an accompariied tour of the facility and
could not speak with residents or distribute information about ADAP. Mixson explained that
ADAP’s federal access authority authorized Mixson and Johnson to communicate privately
with residents, distribute ADAP information, and have unaccompanied access to the facility,
and provided the assistant with a copy of Anderson’s March 28" letter to DYS. counsel,
describing ADAP’s federal access authority. See Exhibits D and E.
After she contacted DYS counsel, Ms. Carney informed Mixson that counsel denied ADAP
access to speak with residents other than current ADAP clients and. denied ADAP access to
distribute ADAP information to any resident: The assistant also declared. that Mixson and
Johnson would be required to be accompanied at all times on Mt. Meigs grounds by a DYS
employee. See Exhibits D and E.

Request for D.R.’s Record
On March 5, 2007, Johnson provided DYS Counsel with notice that Vacca resident, D.R.
was suffering mistreatment and verbal abuse by Vacca staff. See Exhibit L. ADAP had
received a letter from D,R. reporting abuse by staff. See Exhibit M.
On April 4, 2007, Johnson learned from D.R.’s case manager, Patricia Henderson, that D.R.

had been hospitalized at Children’s Hospital in Birmingham for elevated blood levels and a

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possible self-administered medication overdose. Later'on April qu Johnson:reviewed D.R.’s
DYS case file at the Vacca campus and requested a copy of it from Vacea Administrator
Delbridge, Ms. Delbridge informed Johnson that a copy of D.R.’s record would be available
for Johnson on ADAP’s April 10.2007 monitoring visit to Vacea. See Exhibit E,
On April 10, 2007, Johnson met with Ms. Delbridge and reminded her that ADAP requested
copies of D.R.’s records on April 4, 2007 and that she had stated she would provide copies of
those records to Johnson during the scheduled April 10" Vaeca monitoring. Ms. Delbridge
replied that she would not provide ADAP with copies of D.R.’s record until D.R, was
released from the hospital and had signed an authorization for release of records. See
Exhibits Dand E, As of the date of this filing, DYS has neither provided ADAP copies of
the child’s records, as required under 42 C.F.R. § 51.41, nor provided ADAP with a written
explanation as to why it has refused to provide them, as required under 42 C.F.R. § 51.43 --
six weeks after ADAP first requested them.

Requests for Incident Reports and Investigative Findings
On November 29, 2006, ADAP sent a written request for the DYS incident reports and
investigative findings regarding three clients, W.B., H.M. and K.W, male residents of Vacca
and Mt. Meigs whom ADAP had probable cause to believe suffered abuse or neglect while in
DYS custody. See Exhibit N. On April 20, 2007, ADAP again made a written request that
these reports be forwarded to ADAP. See Exhibit O. As-of the date of this filing, DYS has
neither provided ADAP copies of the incident reports and investigatory findings regarding
these three clients, as required under 42 C.F.R, § 51.42, nor provided ADAP with a written

explanation as to why it has refused to provide them, as required under 42 C.F.R.§ 51.43.

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On April 20, 2007, ADAP sent a written. request for copies of incident reports and
investigative findings prepared by DYS regarding J.C., B.P. and S.B., residents at Chalkville
whom ADAP had probable cause to believe suffered abuse or neglect while in DYS custody:
See Exhibit O. As of the date of this filing, DYS has neither provided ADAP copies of the
incident reports and investigatory findings regarding these three clients, as required urider 42
C-F.R. § 51.42, nor provided ADAP with a written explanation as to why it has refused to
provide them, as required under 42 C.F.R. §°51.43,

On April 20, 2007, ADAP sent a written request for copies of all investigative reports
prepared by any agency charged with investigating abuse or neglect, or injury occurring at
Vaeca, Chalkville and Mt. Meigs within the last 6 months. ADAP requested that these
reports be forwarded to ADAP by May 4, 2007. See Exhibit O. As of the date of this filing,
DYS has neither provided ADAP copies of the requested incident reports and investigatory
findings, as required under, 42 C-F.R. § 51.42, nor provided ADAP an explanation as to: why
it has refused to provide them, as required under 42 C.F.R. § 51.43.

Plaintiff does. not have an adequate remedy at law and. will be irreparably harmed if the
Defendant is permitted to continue prohibiting ADAP from:

a) having reasonable unaccompanied access, for monitoring and investigatory purposes, to

public and private areas of DYS facilities:

b) interviewing facility service recipients, staff and other persons as part of abuse and
neglect investigations when ADAP has probable cause to believe an incident has
occurred;

c) providing information and training about individual rights and services provided by the

P&A system;

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d) communicating privately with facility residents;

e) accessing facility incident reports, investigatory findings; and records; and

f) accessing residents” records.

CAUSE OF ACTION

The policies, procedures, regulations, practices and customs of the Defendant, acting under

color of law, violate and continue to violate the rights of the Plaintiff to full, complete,

prompt.access to DYS facilities, staff, residents and records, in violation of the Protection
and Advocacy for Individuals with Mental Illness Act of 1986, 42 U.S.C. §§ 10801 et seq.,
and its implementing regulations at 42 C.F.R. §§ 51.1 et seq.; the Developmental Disabilities

Assistance and Bill of Rights Act of 2000, 42 U.S.C. §§ 15001 et. seq., and its implementing

regulations at 45 C.F.R, §§ 1385 et seq.; the Protection and Advocacy of Individual Rights

Program, 29 U.S.C., §§ 794e, et seq. and its implementing regulations at 34 C.F.R. §§ 381.1

et seg.; and 42 U.S.C, §.1983.

PRAYER FOR RELIEF

Wherefore, Plaintiff respectfully requests that this Court:

a) Grant injunctive relief enjoining the Defendant and his agents and employees from
denying ADAP full, complete, timely access to DYS residents, facilities and facility staff
to conduct monitoring activities and abuse and neglect investigations as well .as full,
complete, timely access to records, including those of ADAP client D.R.;

b) Issue a declaratory judgment that the Defendant's polices, regulations, and practices of
denying ADAP full, complete and timely access to DYS residents, facilities, facility staff
and records to monitor and, to conduct abuse and neglect investigations violate the

PAIMI, PADD and PAIR Acts;

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c) Award Plaintiff reasonably necessary attorneys’ fees and costs pursuant to 28 U.S.C. §
2202 and 42 U.S.C..§ 1988; and

d) Award such other and further relief to which Plaintiff is justly entitled, at law or eqiiity.

Respectfully Submitted,

       

at fe No: ASB-6986-T393 MAY ] 6 ZOOT

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